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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,
                                                            Case No. 19-cr-10080-NMG
       v.
                                                        Leave to File Partially Under Seal
DAVID SIDOO et al.,
                                                     Granted on June 8, 2020 (ECF No. 1279)
               Defendants.



            DEFENDANT ELISABETH KIMMEL’S ASSENTED-TO MOTION
                  TO MODIFY HER CONDITIONS OF RELEASE

       At Elisabeth Kimmel’s initial appearance on March 29, 2019, this Court imposed standard

conditions of release for Mrs. Kimmel. Specifically, the Court ordered that “[t]he defendant must:

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in

the investigation or prosecution, including: co-defendants (unless in the presence of counsel) [and]

[e]xcluding family members [with the admonition that they] should not discuss [the] substance of

[the] case.” ECF # 258.

       In its May 30, 2019 automatic discovery letter, the government identified over one hundred

alleged unindicted co-conspirators. By letter to defense counsel on July 1, 2019, the government

listed over two hundred additional individuals with whom the defendants were not to have contact.

       Although Mrs. Kimmel did not recognize the vast majority of the over three hundred names

the government identified, Mrs. Kimmel did recognize the names of several people,




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       After receiving the July 1, 2019 letter, counsel for Mrs. Kimmel spoke by telephone with

counsel for the government and confirmed via email that the government did not intend to prohibit

all communications with the individuals on the list with whom Mrs. Kimmel communicates for

personal or business reasons, but rather wanted to ensure that there was no communication by

defendants with any of the listed individuals about the allegations in the operative indictment. This

agreement and understanding with the government was not subsequently presented to or adopted

by the Court.

       Consistent with the government’s agreement, Mrs. Kimmel respectfully requests that the

Court modify her conditions of release to permit contact with these three individuals, who may

also be potential witnesses as identified by the government, as long as such contact does not

involve communications about the allegations in the indictment. The government assents to this

motion.

DATED: June 8, 2020                                  Respectfully submitted,

                                                     /s/ Eóin P. Beirne
                                                     R. Robert Popeo (BBO # 403360)
                                                     Mark E. Robinson (BBO # 423080)
                                                     Eóin P. Beirne (BBO # 660885)
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                                                     Counsel for Elisabeth Kimmel

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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

       I hereby certify that I conferred with counsel for the government in an attempt to resolve

or narrow the issues raised by this motion, and the government assents to this motion.

                                               /s/ Eóin P. Beirne
                                               Eóin P. Beirne (BBO # 660885)


                                CERTIFICATE OF SERVICE
       I, Eóin P. Beirne, hereby certify that on June 8, 2020, this document, filed through the

CM/ECF system, will be sent electronically to all registered participants in this matter as identified

on the Notice of Electronic Filing (NEF).


                                               /s/ Eóin P. Beirne
                                               Eóin P. Beirne (BBO # 660885)




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